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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                 Plaintiffs,                    )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )
                                                )
                                                )
                                                )
PARKER BEDNASEK,                                )
                                                )
                 Plaintiff,                     )
                                                )        Case No. 15-9300-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )

          JOINT MOTION FOR AN ORDER OF REFERRAL TO MEDIATION

       Come now the Parties, pursuant to 28 USC 651(b), 28 USC 652(a), and D. Kan. Rule

16.3(c)(1), and jointly move the Court for an Order directing the parties to mediate their dispute

in the above-referenced consolidated cases. In support thereof, the Parties state:

       1. As stated in Plaintiffs Joint Report concerning Consultation on Attorneys Fees

           Request Required by Local Rule 54.2, the parties consulted concerning the issue of
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           attorneys fees via videoconference on June 3, 2021 and exchanged emails thereafter.

           In addition, the parties were of the opinion that further discussions may be

           productive. (Doc 597)

       2. The parties continued discussions by email on June 4, 2021.

       3. D. Kan. Rule 16.3(c)(1) provides in part: "The court may refer a case to mediation at

           any appropriate time."

       4. The parties agree that mediation is the appropriate forum within which to continue

          discussions, and that an order of referral to mediation is appropriate at this time.

       WHEREFORE, for the above and foregoing reasons, the Parties respectfully request that

this motion be granted and an order entered referring this dispute to mediation, and for such

other relief as the Court deems just and equitable.



                                              Respectfully submitted,

                                              OFFICE OF ATTORNEY GENERAL
                                              DEREK SCHMIDT

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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 8, 2021 the foregoing was filed
 electronically with the Clerk of the Court by using the CM/ECF system, which
 will send a notice of electronic filing to all counsel of record.

                                        /s/ Stanley R. Parker
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